                    Case 6:16-cv-00926-VEH-HGD Document 1 Filed 06/03/16 Page 1 of 4                                         FILED
                                                                                                                  2016 Jun-03 AM 11:46
                                                                                                                  U.S. DISTRICT COURT
                                                                                                                      N.D. OF ALABAMA

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                                                                                                 ~       :L....   t..... ,

            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ALABAMA



                                                          NOTICE TO FILING PARTY

                                                           It is your responsibility to
                                                         notifY the clerk in writing ofany
                                                                 address change.

                                                          Failure to notifY the clerk may
                                                          result in dismissal afyour case
                                                             withoutforther notice.

                  vs.




:r above full name(s) of the defendant(s)
s action)

  Previous lawsuits

  A.      Have you begun other lawsuits in state or federal co~(s) dealing with the
          same fucts involved in this action or otherwise relating to your imprisonment?
          Yes (      )          No <v--1

  B.     If the answer to (A) is "yes," describe each lawsuit in the space below. (Ifthere is more
         than one lawsuit, describe the additionallawsuit(s) on another piece of paper, using the
         same outline.)

         1.      Parties to this previous lawsuit:

                 Plaintiff:



                 Defendant(s):
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       2,     Court (if Federal Court, name the'district; if State Court, name the county)



       3,

       4,     Name ofjudge to whom case was assigned       ,~~~    _ __



       5,     Disposition (for example: Was the case dismissed? Was it appealed? Is it still
              pending?) _~~'              ,_ _ _ _ . _ ' ' ' ' '___,______~



      6,      Approximate date of filing lawsuit   ~_~




      7.      Approximate date of disposition

Place of present confmement _ __

A.    Is there a prisoner grievance proc~,e in this institution?
      Yes ( )                 No { ~(.r (1\I(.~f .,;",.el0

B.    Did you present the facts relating to your complaint in the state prisoner grievance
      procedure?            Yes ( i / )             No (       )

C.    If your answer is YES:

      1.                   ~ T&tKed W;·ij,j).rJb;14iJ,Nttee t'-Ir.'))
             \¥hatstepsdidyoutske?

             }),Hk I:u4~r:~g~; l!it N.uke ,t;jJtYiJ d'n ..~i"'~(ir Ui)Rv
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                                     Tcilt!Tv"Thc WrdenJ                              .pd~(4r",t-vr W:UJt\MJ
      2.     What was the resuff1 D 00 +'     •




D,   Tfyour answer.is NO, explain why not:
                                 Case 6:16-cv-00926-VEH-HGD Document 1 Filed 06/03/16 Page 3 of 4




III.        Farties.
            In item (A) below, place your name in the first blank and place your present address in the
            second blank.

            A.         Name ofPlaintiff(s)         M(~. L;, ncl M· :JAC.,t.w~

                       Address         P'D'~{)X 4?J1- StP QUci'v,.t1~~
                                       Ati ce V Il L I, A! 3;,4t.j d::-:
                                                   I


           In item (B) below, place the full name ofthe defendant in the first blank, his official position in
           the second blank, and his place of employment in the third blank. Use Item (C) for the names,
           positions; and places o~ employment of ~ additio~l defen~an~.

           B.          Defendant        MIceli         I   ilL.       tlUSOIV         4tJ.-ISep
                       Is employed as           €l<tckfl                   d{'r't, (;.... rv\.
                                 (\             .~           SCP y; .
                       at       J::tL,U'Ldl                           <3fJS~                                       (,


           C.          Additional Defendants               Ur<;.('.                                     . r.   V r.s    c..

                       W~U'}k Q; f O\JcQ. \ pJ;.,'(E,~J?'r· rY)<;.·~\t Ior


V.         Statement of Claim

           State here, as briefly as possible, the FACTS ofyour case. Describe how each defendant is
           involved. Include also the names of other persons involved, dates and places: Do not give any
           legal anmments or cite any cases or statues. Ifyou intend to allege a number of related claims,
           number and set forth each claim ina separate paragraph. Use as much space as you need. Attach
           extra sheets, ifnecessary.

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       State bnefly exactly wnat you want the court to do for you. Make no legal arguments. CIte no
       cases or starues.

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     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on         ~:1-LJ1A.Icl.C'\u...f-'-lil ~"~I
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